     Case 3:14-cr-03228-JLS    Document 24    Filed 12/04/14    PageID.51     Page 1 of 1
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                                                                             ISTRICT COURT
                                                                              ICT OF CALlFORNtA
                                                                BY                      DEPUTY
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 3
                                   UNITED STATES DISTRICT COURT
 4
                               SOUTHERN DISTRICT OF CALIFORNIA

 5    UNITED STATES OF AMERICA,                        Case No.: 14-CR-3228-JLS
 6
                               Plaintiff,
 7
                                                       ORDER AND JUDGMENT TO
             v.                                        DISMISS WITHOUT PREJUDICE
 8
      JULIO CABRERA (2),
 9

10
                               Defendant.
11
12   ~   _________________________________     ~




13
             Upon motion      of    the   United States    of    America      and    good     cause
14
      appearing,
15
             IT IS HEREBY ORDERED that the Information in the above-entitled
16
      case be dismissed without prejudice.
17
             IT IS SO ORDERED.
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      DATED: December         'i ' 2014
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